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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON

In Re:                                               :
                                                     :      Chapter 7 (Involuntary)
         TAGNETICS, INC.                             :
                                                     :      Case No. 3: 19-bk-30822
                                                     :
                                                     :      Judge Guy R. Humphrey
                       Alleged Debtor                :
                                                     :


  REQUEST OF PIQUA TROY INVESTMENTS, LLC FOR SERVICE OF NOTICES
                PURSUANT TO FED. R. BANKR. P. 2002(g)


         PLEASE TAKE NOTICE that Piqua Troy Investments, LLC, by and through Counsel, a

potential Creditor in the above captioned involuntary Chapter 7 bankruptcy, requests, pursuant to

Rule 2002 of the Federal Rule of Bankruptcy Procedure (the Bankruptcy Rules) and sections 102(1),

342 and 1109(b) of Title 11 of the United State Code, 11 U.S.C. §§ 101, et seq. (as amended, the

Bankruptcy Code), that all Notices given or required to be given and all papers served in this case

be also given to and served, whether electronically or otherwise, on:

         Bryan K. Stewart
         Attorney for Piqua Troy Investments, LLC
         104 West Main Street
         Tipp City, OH 45371
         Telephone: (937) 506-8804; Fax: (937) 506-8807
         Email: bryan@stewartlawyers.com

Dated: July 15, 2019
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                                                     Respectfully submitted,

                                                     STEWART and STEWART LAWYERS, Ltd.



                                                     By: /s/Bryan K. Stewart
                                                     Bryan K. Stewart, #0042122
                                                     Attorney for Piqua Troy Investments, LLC
                                                     104 West Main Street
                                                     Tipp City, Ohio 45371
                                                     (937) 506-8805; fax (937) 506-8807
                                                     bryan@stewartlawyers.com



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 15, 2019, a copy of the foregoing Request for
Service of Notices was served on the following registered ECF participants, electronically, through
the Court’s ECF System at the email address registered with the Court:

Office of U.S. Trustee
Jeremy Shane Flannery, Asst. US Trustee (Day)

Christopher L. Wesner, Esq.
Attorney for Petitioning Creditors, Kayser Ventures, Ltd.
and S-Tek, Inc.

Robert R. Kracht, Esq.
Stephen B. Stern, Esq.
Attorneys for Tagnetics, Inc., alleged Debtor

and on the following by ordinary U.S. Mail addressed to:

Ronald E. Early
6429 Winding Tree Dr.
New Carlisle, OH 45344
Petitioning Creditor




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Jonathan Hager
842 Paint Bank Road
Salem, VA 24153
Petitioning Creditor

Kenneth W. Kayser
P.O. Box 115
Catawba, VA 24070
Petitioning Creditor

Robert Strain
427 Artell St.
Marcengo, IL 60152
Petitioning Creditor

Tagnetics, Inc.
3415 U.S. Rte. 36
Piqua, OH 45356
Alleged Debtor



                                                                          /s/Bryan K. Stewart
                                                                          Bryan K. Stewart, #0042122
                                                                          Attorney for Piqua Troy Investments, LLC
                                                                          & Loan Association




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